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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

   UNITED STATES OF AMERICA

   v.                                            Case No.: 8:12-cr-506-T-33MAP

   YEFERSON LOPEZ-VALENCIA


        Order Regarding Prison-Term Reduction Under 18 U.S.C. § 3582(c)(2)
                             Based on USSG Amend. 782

           This matter comes before the Court sua sponte in an effort to

   provide clarity in the record. On May 26, 2016, the United States

   Probation Office filed an Amendment 782 Memorandum indicating that the

   Defendant is ineligible for a sentence reduction pursuant to 18 U.S.C.

   § 3582(c)(2) based on USSG Amend. 782, a retroactive guideline

   amendment, see USSG § 1B1.10(d) (2014). (Doc. # 93). Specifically, the

   Amendment 782 Memorandum indicates the Defendant is not eligible

   because the Defendant was sentenced at the statutory minimum mandatory.

   (Id.). Therefore, the Court does not grant a sentence reduction pursuant

   to Amendment 782. If circumstances warrant, the Court may revisit the

   matter.

           DONE and ORDERED in Chambers in Tampa, Florida, this 31st day of

   May, 2016.
